



















               



In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00486-CR

____________


SETH WAYNE CAMPBELL, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 230th District Court

Harris County, Texas

Trial Court Cause No. 936174






MEMORANDUM  OPINION

	Appellant was indicted for capital murder.  He pleaded guilty to the reduced
charge of injury to a child with serious bodily injury and, in accordance with a plea
bargain agreement with the State, the trial court sentenced appellant to confinement
for 40 years and made an affirmative finding that a deadly weapon was used in the
commission of the offense.  Appellant filed timely notice of appeal.  We dismiss for
lack of jurisdiction.

	Rule 25.2(a) of the Texas Rules of Appellate Procedure provides, in
pertinent part:

	In a plea bargain case -- that is, a case in which a defendant's
plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and
agreed to by the defendant -- a defendant may appeal only:


	(A)	those matters that were raised by written motion filed and
ruled on before trial, or


	(B)	after getting the trial court's permission to appeal.


Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of defendant's right of appeal states that this
"is a plea-bargain case, and the defendant has NO right of appeal."  (Emphasis in
original.)  See Tex. R. App. P. 25.2(d).

	We also note that appellant waived his right to appeal.  See Buck v. State,
45 S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Taft, Jennings, and Hanks.

Do not publish.   Tex. R. App. P. 47.2(b).


